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                      IN THE UNITEDSTATESDISTRICTCOURT

                                 DISTRICT
                    FORTHESOUTHERN      OFGEORGIA

                                  AUGUSTADIVISION

SHAWNB. DOBY,SR.,

               Petitioner,

                                               cv ll3-152
                                               (FormerlyCR 198-054)
UNITEDSTATESOF AMERICA,

               Respondent,


        MAGISTRATEJUDGE'SREPORTAND RECOMMENDATION


       Petitioner,an inmateat the FederalCorrectionalComplex in Pollock, Louisiana,has

filed with this Court a motion under 28 U.S.C. $ 2255 to vacate,set aside,or correct his

sentence.The matter is now beforethe Court for an initial review of Petitioner'smotion as

requiredby Rule 4 of the Rules GoverningSection2255 Proceedingsfor the United States

District Courts.    For the reasons set forth below, the Court REPORTS and

RECOMMENDS that the $ 2255 motion be DISMISSED, and that this civil action be

CLOSED.

I.     BACKGROUND

       On April 27,1999, ajury in the SouthernDistrict of GeorgiaconvictedPetitioneron

two countsof drug trafficking relatedcrimes. United Statesv. Doby, CR 198-054,doc. no.

269 (S.D. Ga. Apr. 27, 1999). On July 8, 1999, United StatesDistrict Judge Dudley H.

Bowen,Jr., sentencedPetitioneron both countsto a total of 360 monthsof imprisonment,| 0

                                                        the judgment was enteredon
years of supervisedrelease,and $200 in specialassessments;

July 12, 1999. (k!., doc. no. 303.) Petitionerfiled an appeal,and the EleventhCircuit Court

of Appeals affirmed his convictions. United Statesv. Doby. 275 F.3d 55 (Table No. 99-
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 12350)(1lth Cir. Oct. 16, 2001). On October7,2002, the United StatesSupremeCourt

deniedcertiorari. Doby v. United States.537U.S. 939 (2002).

        On November20, 2003,Petitionersignedhis first $ 2255 motion, which was filed by

the Clerk on November26, 2003. SeeDobv v. UnitedStates,CV 103-190,doc. no. 1(S.D.

Ga. Nov. 26,2003) (hereinafter
                             "CV 103-190). The petitionwas dismissedas untimely,

(ir!., doc. no. 12), and both JudgeBowenand the EleventhCircuit deniedPetitioner'srequest

for Certificateof Appealability("COA') becausehe was unableto makea sufficientshowing

ofthe "extraordinarycircumstances"requiredto warrantequitabletolling, (id., doc. nos. 15,

 l6).

        On July 8, 2005,the EleventhCircuit deniedPetitioner'sapplicationseekingan order

authorizingthe District Court to considera secondor successive$ 2255 motion basedon a

new rule of constitutionallaw. (Id., doc. no. 18.) In that application,Petitionerraisedthe

claim that the district court improperlyenhancedhis sentencebasedupon a drug quantitythat

was not allegedin the indictmentor presentedto the jury, citing two recentSupremeCourt

opinions. [d. at 2.) The EleventhCircuit deniedhis applicationbecausethe SupremeCourt

had not declaredeithercaseretroactivelyapplicableon collateralreview suchthat eithercase

constituteda new rule of constitutionallaw to authorizea secondor successiveQ2255

motion. (k!. at 3.)

        Petitionerhas now filed another$ 2255 motion, wherein he asserts,in light of the

 SupremeCourt'srecentdecisionin Alleynev. UnitedStates,133S. Ct. 2l5l (2013),that he

is entitledto file a $ 2255 motion becausethe district court improperlyenhancedhis sentence

basedon 1.5 kilogramsofcrack cocainenot allegedin the indictmentor presentedto thejury.

(Seeeenerallvdoc.no. 1.)
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II.    DISCUSSION

       Petitioner'sclaims are barredfrom review in this $ 2255 proceedingby vitue of the

successivemotion restrictionsenactedby the Antitenorism and Effective Death PenaltyAct

of 1996,C'AEDPA"),and now containedin 28 U.S.C.$$ 2255and 2244(b). Section2255

providesin relevantpart:

       A secondor successivemotion must be certified as providedin section2244
       by a panelofthe appropriatecourt ofappealsto contain-

       (1) newly discoveredevidencethat, if proven and viewed in light of the
       evidenceas a whole, would be sufficientto establishby clearand convincing
       evidencethat no reasonablefactfinderwould havefound the movantguilty of
       the offense;or

       (2) a new rule of constitutionallaw, made retroactiveto caseson collateral
       review by the SupremeCourt,that waspreviouslyunavailable.

28 U.S.C. $ 2255. Section2244, inium, providesthat prior to filing a successive
                                                                              petition in

the District Court, "the applicantshall move in the appropriatecourt of appealsfor an order

authorizingthe district court to considerthe application." 28 U.S.C. $ 2244(b)(3)(A); see

also In re Joshua,224 F.3d 1281,l28l (1lth Cir. 2000)(per curiam)(citing28 U.S.C.$$

22ss&2244(b)(3)).
       Here, Petitionerhaspreviouslyfiled a $ 2255 motion that was dismissedas untimely.

Further,the Eleventh Circuit denied Petitioner's2005 applicationthat soughton the same

legal holding an orderauthorizingthe district court to considera secondor successive$ 2255

motion. Petitioner'sargumentin his current motion is premisedon the SupremeCourt's

recent decision in Alleyne, (see doc. no. l, p. l), and is properly classifiedas "second or

successive"in the sensecontemplatedby $ 2255. In Stewartv. United States,646F.3d 856,

865 (llth Cir.201l), the court distinguished
                                           betweennumericallysecond$ 2255 motions

                                               holding that the petitioner'snumerically
and thosethat were barredas secondor successive,
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secondmotion was nol secondor successivebecausethe claim assertedthereinwas not yet

ripe at the time of his first motion. ln doing so, the Stewartcourt cited to Leal Garcia v.

Ouarterman,573 F.3d 214,222 (5th Cir. 2009), noting that, like in that case,petitioner's

motion fell within a "small subsetof unavailableclaims that must not be categorizedas

successive." Stewart, 646 F.3d at 862. The Stewartcourt further noted that the Fifth

Circuit's approachin Leal Garcia "is consonantwith the SupremeCourt's reasoningin"

Panettiv. Ouarterman.55lU.S.930(2007).Id.

        Leal Garciaclearly establishedthat "[n]ewly availableclaims basedon new rules of

constitutional law (made retroactive by the Supreme Court) are saccesslueunder

 $ 22aa@)(2)(A): Indeed,this is the reasonwhy authorizationis neededto obtainreview ofa

successivepetition."' Leal Garcia,573 F.3dat 221 (emphasisin original). The court further

explainedthat the small subsetof claims not consideredsecondor successivewere those

"basedon a factual predicatenot previouslydiscoverable,"as opposedto those basedon a

shift in the law. Id. In fact, the court notedthat AEDPA was specificallydesignedto protect

againstprisoners"repeatedly[attacking]the validity of their convictionsand sentences"as

"the legallandscape
                  shifts." Id.

        In sum,the Court finds that the instantpetition is successive,
                                                                     and Petitionerdoesnot

statethat he has been grantedpermissionto file a successive$ 2255 motion in this Court.

Absent authorizationfrom the EleventhCircuit, this Court lacksjurisdiction to considerthe

issuesraisedin Petitioner'smotion.r SeeHill v. Hopper.l12 F.3d 1088, 1089(llth Cir.


        'The Court is not aware of any authority indicating that Allevne is retroactively
applicable,and the caseitselfprovidesno suchindication.
        2 In his current
                      $ 2255 motion, Petitioner"ask[s] this court for leave to file a 28
U.S.C. $ 2255(DQ) HabeasPetition." (Doc. no. l.) Petitionerhas already once filed a
motion askingthe EleventhCircuit for leaveto file a secondor successive$ 2255 motion. It
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 1997) (per curiam) (detenniningthat "the district court lacked jurisdiction to consider

Appellant Hill's requestfor reliefbecauseHill had not appliedto this Court for permissionto

fife a secondhabeaspetition"); seealso ln re Dean.341 F.3d 1247, 1248-49(l lth Cir. 2003)

(per curiam) (denyingpermissionto file successive$ 2255 motion allegingsentencingerror

based on successfulchallenge to state convictions that were used to calculate federal

sentence).Accordingly,Petitioner'scurrent$ 2255motion shouldbe dismissed.

III.   CONCLUSION

        Basedon an initial review ofthe instant$ 2255 motion, as requiredby Rule 4 ofthe

Rules Goveming $ 2255 Cases,the Court frnds the motion to be successiveand not

authorized by      the   United    States Court      of   Appeals    for    the   Eleventh

Circuit. The Court thereforeREPORTS and RECOMMENDS that the € 2255 motion be

DISMISSED, and that this civil actionbe CLOSED.
                                       ofh
        SO REPORTEDand RECOMMENDEDthis I lav of Seotember.
                                                        2013. at

Augusta,Ceorgia.




                                             TJNITEDSTATESMAGISTRATEJUDGE




is clearthat Petitioneris awareofthe correctprocedurefor filing a motion for leaveto file a
secondor successive$ 2255 motion and shouldfile any subsequentmotion requestingsuch
permissionwith the EleventhCircuit.
